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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                        )
In re:                                                  )    Chapter 11
                                                        )
GIGAMONSTER NETWORKS, LLC, et al.,1                     )    Case No. 23-10051 (JKS)
                                                        )
                                  Debtors.              )    (Jointly Administered)
                                                        )
                                                        )    Related to Docket No. 300

            CERTIFICATE OF NO OBJECTION (NO ORDER REQUIRED)
    REGARDING THE FIRST MONTHLY APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSTION, FOR THE
          PERIOD FROM JANUARY 17, 2023 THROUGH JANUARY 31, 2023

                   The undersigned hereby certifies that:

                   1.      Pachulski Stang Ziehl & Jones LLP (“PSZJ”), counsel to the above-

captioned debtors and debtors in possession (collectively, the “Debtors”), filed and served the

First Monthly Application for Compensation and Reimbursement of Expenses of Pachulski Stang

Ziehl & Jones LLP, as Counsel for the Debtors and Debtors in Possession, for the Period from

January 17, 2023 through January 31, 2023 [Docket No. 300] (the “Application”).

                   2.     Objections to the Application were to be filed and served no later than

May 2, 2023 by 4:00 p.m. (prevailing Eastern Time). The undersigned has caused the

Bankruptcy Court’s docket in this case to be reviewed, and no answer, objection or other

responsive pleadings to the Application appears thereon. Additionally, no objections to the

Application have been received by the undersigned counsel.

                   3.


1
     The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
     GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014);
     Fibersphere Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The
     Debtors’ business address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.


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                   4.    Pursuant to the Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals (the “Order”) [Docket No. 122], the Debtors

are authorized to pay PSZJ $243,211.20, which represents 80% of the fees ($304,014.00), plus

$11,622.17, which represents 100% of the expenses requested in the Application, for the period

from January 17, 2023 through January 31, 2023, upon the filing of this certificate of no

objection and without the need for entry of a Bankruptcy Court order approving the Application


Dated: May 3, 2023                            PACHULSKI STANG ZIEHL & JONES LLP


                                              /s/ Laura Davis Jones
                                              Laura Davis Jones (DE Bar No. 2436)
                                              David M. Bertenthal (CA Bar No. 167624)
                                              Timothy P. Cairns (DE Bar No. 4228)
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                                              Counsel for the Debtors and Debtors-in-Possession




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